Case No. 1:49-cv-02782-MSK-CBS                     Document 398-1         filed 12/09/16             USDC Colorado
                                                     pg 1 of 1




                                              CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of December 2016, I electronically filed the
 foregoing STIPULATION BETWEEN APPLICANT AND THE BOARD OF COUNTY
 COMMISSIONERS OF THE COUNTY OF SUMMIT with the Clerk of Court using the
 CM/ECF system which will send notification of such filing to the following:

 Party Name                                          Party Type          Attorney Name

 Climax Molybdenum Company                           Opposer             Brian M Nazarenus
                                                                         Sheela S Stack

 Colorado River Water Conservation District          Opposer             Jason Victor Turner
                                                                         Peter Cheney Fleming

 Division 5 Engineer                                 Division Engineer   Division 5 Water Engineer

 Grand County Board of Commissioners                 Opposer             David C Taussig
                                                                         Mitra Marie Pemberton

 Grand Valley Irrigation                             Opposer             Frederick G Aldrich

 Grand Valley Water Users Association                Opposer             Kirsten Marie Kurath
                                                                         Mark Allen Hermundstad

 Middle Park Conservancy District                    Opposer             Ian Wesley Ferrell
                                                                         Stanley W Cazier

 Northern Colorado Water Conservancy District        Opposer             Bennett William Raley
                                                                         Lisa M Thompson

 Orchard Mesa Irrigation District                    Opposer             Kirsten Marie Kurath
                                                                         Mark Allen Hermundstad

 Palisade Irrigation District                        Opposer             Nathan A. Keever

 State Engineer                                      State Engineer      Colorado Division Of Water Resources

 Summit County Board of Commissioners                Opposer             Charles Byron White

 Ute Water Conservancy District                      Opposer             Kirsten Marie Kurath
                                                                         Mark Allen Hermundstad




                                                      __s/Lori Fraser________________________
                                                      Lori Fraser

  eFiled per C.R.C.P. Rule 121 with a duly signed original on file at the Denver Water Department, Legal Division.
